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 1     DONALD SPECTER – 083925                        MICHAEL W. BIEN – 096891
       STEVEN FAMA – 099641                           JEFFREY L. BORNSTEIN – 099358
 2     MARGOT MENDELSON – 268583                      ERNEST GALVAN – 196065
       PRISON LAW OFFICE                              LISA ELLS – 243657
 3     1917 Fifth Street                              THOMAS NOLAN – 169692
       Berkeley, California 94710-1916                JENNY S. YELIN – 273601
 4     Telephone: (510) 280-2621                      MICHAEL S. NUNEZ – 280535
                                                      JESSICA WINTER – 294237
 5     CLAUDIA CENTER – 158255                        MARC J. SHINN-KRANTZ – 312968
       DISABILITY RIGHTS EDUCATION                    CARA E. TRAPANI – 313411
 6     AND DEFENSE FUND, INC.                         ALEXANDER GOURSE – 321631
       Ed Roberts Campus                              AMY XU – 330707
 7     3075 Adeline Street, Suite 210                 ROSEN BIEN
       Berkeley, California 94703-2578                GALVAN & GRUNFELD LLP
 8     Telephone: (510) 644-2555                      101 Mission Street, Sixth Floor
                                                      San Francisco, California 94105-1738
 9                                                    Telephone: (415) 433-6830
10 Attorneys for Plaintiffs
11
12                                    UNITED STATES DISTRICT COURT
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                             Case No. 2:90-CV-00520-KJM-DB
16                      Plaintiffs,                   OCTOBER 15, 2020 JOINT REPORT
                                                      ADDRESSING CURRENT COVID-19-
17                 v.                                 RELATED DEPARTURES FROM
                                                      PROGRAM GUIDE REQUIREMENTS
18 GAVIN NEWSOM, et al.,
                                                      Judge: Hon. Kimberly J. Mueller
19                      Defendants.
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     [3632413.1]

       OCTOBER 15, 2020 JOINT REPORT ADDRESSING CURRENT COVID-19-RELATED DEPARTURES FROM
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 1                 On April 17, 2020, the Court ordered the parties to file a stipulation identifying
 2 “temporary departures from certain Program Guide requirements” for the provision of
 3 mental health care arising from Defendants’ efforts to respond to the COVID-19
 4 pandemic. ECF No. 6622 at 2-3 (Apr. 17, 2020). On May 20, 2020, the parties submitted
 5 a stipulation and proposed order as the Court directed. See ECF No. 6679 (May 20, 2020).
 6 That stipulation set forth a process whereby the parties, on a monthly basis, would meet
 7 and confer, under the supervision of the Special Master, and report to the Court on updated
 8 changes to the stipulation and its attachment, Appendix A. See id. at 4-5. The parties filed
 9 updates to Appendix A, along with stipulations, on June 15, 2020, see ECF No. 6718, and
10 July 15, 2020, see ECF No. 6761.
11                 The Court disposed of the parties’ May 20 stipulation without adopting it in the July
12 28, 2020 Order, ECF No. 6791 (“July 28 Order”). By minute order, the Court required the
13 parties to continue to provide monthly updates regarding changes to Appendix A on the
14 fifteenth of every month except for August 2020. See Minute Order, ECF No. 6814 (Aug.
15 14, 2020). On August 21, 2020, the parties submitted their August monthly update, along
16 with “their positions on the path to full resumption of Program Guide level mental health
17 care assuming the COVID-19 pandemic has not abated and will not abate for some time,”
18 July 28 Order at 3, and their agreement that the monthly update process should continue,
19 see Jt. Report Addressing Current COVID-19-Related Departures from Program Guide
20 Requirements & Resumption of Program Guide Mental Health Care, ECF No. 6831 (Aug.
21 21, 2020) (“August Joint Report”).
22                 The parties hereby submit the attached updated version of Appendix A, which
23 captures as of the date of this filing the status of COVID-19-related departures from
24 requirements set forth in the Program Guide and/or policies listed in the “Compendium of
25 Custody Related Measures,” see ECF No. 6661 at 2, jointly filed by the parties on
26 December 19, 2019, ECF No. 6431 (“Compendium policies”).
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 1                 1.    The chart attached hereto as Appendix A identifies a further two temporary
 2 policies and procedures implemented due to the COVID-19 pandemic that permit or
 3 effectuate departures from Program Guide requirements for mental health care. Appendix
 4 A includes policies that depart from the Program Guide and/or Compendium policies in
 5 Defendants’ efforts to manage the delivery of mental health care during COVID-19. Some
 6 of these policies require care that exceeds the requirements set forth in the Program Guide.
 7 True and correct copies of the two new temporary policies and procedures are attached
 8 hereto as part of Appendix A.
 9                 2.    The two Appendix A policies added to the September update—the August
10 14, 2020 Institutional Roadmap to Reopening and the August 19, 2020 revised Movement
11 Matrix—address the quantity and modalities of mental health treatment provided within
12 CDCR, along with intra- and inter-institution transfers for higher levels of mental health
13 care (including to DSH), from desert institutions and reception centers, and to and from
14 restricted housing settings. The parties have discussed the Movement Matrix substantively
15 at one Taskforce meeting, but have not discussed the substance of the Roadmap to
16 Reopening. Defendants have stated that another iteration of the Movement Matrix is being
17 drafted.
18                 Plaintiffs sent a letter to Defendants on September 10, 2020, expressing major
19 concerns with the revised Movement Matrix and Roadmap to Reopening, and continue to
20 have serious concerns regarding the impact of these policies on class members’ access to,
21 and the provision of, mental health treatment in Defendants’ institutions. Defendants have
22 indicated that, as a result of these two policies, revisions to some existing COVID-19
23 policies will be necessary and some are now superseded. The former Appendix A policies
24 Defendants determined are superseded in full by the revised Movement Matrix and
25 Roadmap to Reopening were removed from the September 15 update to Appendix A.
26 Plaintiffs have repeatedly asked Defendants to clarify and/or provide revised versions of
27 the following policies that Defendants have stated are superseded in part by the Movement
28 Matrix and Roadmap to Reopening:
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 1         (1)    COVID-19 Mental Health Delivery of Care Guidance & Tier Document
 2 (Mar. 25, 2020);
 3         (2)    COVID Emergency Mental Health Treatment Guidance and COVID
 4 Temporary Transfer Guidelines and Workflow (Apr. 10, 2020); and
 5         (3)    COVID Emergency Mental Health Treatment Guidance for MAX Custody
 6 Patients and COVID EOP Temporary Transfer Guidelines and Workflow (Apr. 17, 2020).
 7         As of the September 15, 2020 update, Defendants indicated they were in the process
 8 of reviewing all policies in Appendix A to ensure they are up to date and consistent with
 9 each other. Defendants also stated that a memo to the field would be necessary to clarify
10 the status of these policies, once the review is complete. Plaintiffs believe that any
11 clarifying memo to the field should also address the status of the COVID-19 Surge
12 Mitigation and Management Plan attached as Exhibit 7 to the September 15, 2020 Program
13 Guide Departures Update. Plaintiffs have also asked Defendants to report on institutions’
14 movements in and out of the Roadmap’s “phases.” Plaintiffs have not received responses
15 from Defendants as to their comprehensive review of Appendix A policies, a clarifying
16 memo to the field, or their request for reporting on aspects of the Roadmap to Reopening.
17         Defendants are in the process of revising the April 10 and April 17, 2020 policies
18 and combining them into a single cohesive policy. Defendants anticipate providing the
19 proposed memorandum to the Task Force for discussion at the October 27, 2020 meeting.
20 Defendants’ review of the March 25, 2020, policy is ongoing. Defendants continually
21 review policies in Appendix A to ensure they are up to date and consistent with each other.
22 Notification to the field about the operative status of policies found in Appendix A will
23 coincide with the finalization of the revision to the April 10 and 17, 2020 policies. The
24 parties will continue to meet and confer regarding these policies to clarify terms and intent,
25 to work out implementation of the policies with regard to Coleman class members, and to
26 address Defendants’ reporting on the impacts of the memos.
27         3.     In their May 20, 2020, stipulation, Defendants agreed to provide certain
28 reports to the Special Master and Plaintiffs. See ECF No. 6679 at 3-5, ¶ 2. Defendants
   [3632413.1]
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 1 began producing reports the week of May 25, 2020. Redacted copies of those reports are
 2 appended hereto:
 3                a.     Tier Report, September 8 – 11, 2020; September 14-18, 2020;
 4 September 21-25, 2020; September 28-October 2, 2020; October 5 – 9, 2020 Exhibit 1;
 5                b.     Temporary Mental Health Unit (TMHU) and Treat In Place List,
 6 September 8 – 11, 2020; September 14-18, 2020; September 21-25, 2020; September 28-
 7 October 2, 2020; October 5 – 9, 2020, Exhibit 2;
 8                c.     Shower and Yard in Segregation Compliance Report for September
 9 2020, Exhibit 3;
10                d.     TMHU 114-A Tracking Log Report for September 2020, Exhibit 4.
11 This report also integrates the report on the custody reviews of Max Custody patients
12 referred to a TMHU. See ECF No. 6679 at 3-4, ¶ 2(c); and
13                e.     On Demand Patient’s Pending Inpatient Transfer Registry accessed
14 October 15, 2020, Exhibit 5. This report replaces the prior Temporary Mental Health Unit
15 (TMHU) Registry.
16                f.     COVID-19 Mental Health Dashboard, accessed October 15, 2020,
17 Exhibit 6.
18         The parties have agreed on the form of the Tier Reports, ECF No. 6679 at 3, ¶ 2(a),
19 and the TMHU and Treat in Place List, id. at ¶ 2(b), although Plaintiffs have identified
20 many discrepancies, omissions, and apparent errors in the latter report and have repeatedly
21 asked Defendants to provide this information—either in the List itself or via the TMHU
22 Registry. On October 9, 2020, Defendants finalized updating the TMHU Registry and
23 replaced it with the Patient’s Pending Inpatient Transfer Registry. The new registry
24 includes data on all patients housed in a TMHU, patients referred to an acute bed and not
25 housed in a TMHU, crisis bed, or psychiatric inpatient program, and patients referred to
26 intermediate care and not housed in a TMHU, crisis bed, or psychiatric inpatient program.
27 A copy of that new report is attached as Exhibit 5. Now that the automated TMHU
28 Registry has been upgraded to capture patients referred to higher levels of care housed in
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 1 TMHUs and in outpatient settings, Defendants will discontinue the manual TMHU and
 2 Treat in Place Reports.
 3         Plaintiffs received notice of the creation of the Patients Pending Inpatient Transfer
 4 Registry on October 13, 2020 and have reviewed it only briefly. Plaintiffs will provide
 5 any comments or concerns to Defendants regarding this revised report once they have had
 6 an opportunity to review it more extensively. The parties will continue to meet and confer
 7 as necessary regarding this report, including to confirm that it captures all patients referred
 8 for inpatient care who are not able to transfer due to pandemic-related restrictions.
 9         On July 22, 2020, Plaintiffs provided written comments to Defendants on the
10 Shower and Yard in Segregation Compliance Report, id. at 4, ¶ 2(d), and the TMHU 114-
11 A Tracking Log Report, id. at 3, 4 ¶¶ 2(c), (e). See ECF No 6761 at 3 (July 15, 2020).
12 Defendants responded to Plaintiffs’ comments by letter on August 5, 2020. Defendants
13 have also discussed the reports with the Special Master team in the small workgroup
14 setting and are working on modifications to the reports as a result. The parties met and
15 conferred on September 17, 2020 to continue discussing the content of and methodology
16 used to develop these reports as well as the modifications being considered as a result of
17 the small workgroup. Plaintiffs have not received responses to their queries from that
18 meeting. Nor have Defendants provided Plaintiffs revised versions of either of these
19 reports. Plaintiffs continue to have significant concerns regarding the content and utility of
20 the Shower and Yard in Segregation Compliance Report, and await an opportunity to
21 review the revised TMHU 114-A Tracking Log Report. Defendants reported that the
22 modifications discussed with the Special Master and Plaintiffs are forthcoming.
23         Development of the COVID-19 Mental Health Dashboard, id. at 5, ¶ 2(f)(ii), has
24 concluded. Plaintiffs and the Special Master team now have access to the full COVID-19
25 Dashboard, including the Glossary.
26         4.     On May 20, 2020, the parties reported that they were still negotiating the
27 data Defendants can provide regarding the average number of hours of out-of-cell
28 treatment, including yard and recreation time, offered per week, as well as the status of
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 1 available entertainment devices and other in-cell activities for all class members in mental
 2 health segregation units. In meet and confer discussions, Defendants reported that they do
 3 not have the capability to report on this information because none of this data is currently
 4 automated and they lack a single source of tracking information that could be used to
 5 provide a report on these issues. Defendants reported that, in lieu of a headquarters-level
 6 automated tracking report, their typical practice is to regularly audit many of these items
 7 via on-site audits by Mental Health Regional Administrators, but on-site audits were
 8 paused due to the COVID-19 pandemic. On-site audits of open institutions resumed in
 9 mid-July 2020. Since that time, Defendants have inspected ten institutions and collected
10 data on the operation of mental health segregation units at those institutions.
11                 Defendants did not provide the compiled data, along with methodology, to Plaintiffs
12 on August 26, 2020 as promised. See August Joint Report at 5, ¶ 3. On September 12,
13 2020, Defendants provided data collected from six institutions on inmate access to
14 entertainment appliances in mental health segregation units. Additionally, Defendants
15 provided the methodology of the segregation unit audit and a copy of the standard audit
16 form completed by its auditors. Plaintiffs await further data gathered during these audits.
17 Plaintiffs remain concerned about Defendants’ inability to effectively track and report on
18 these requirements at the headquarters level, and about Defendants’ reliance on on-site
19 audits as a general matter given Plaintiffs’ concerns about the PSU and EOP ASU hub
20 certification process. The parties nonetheless agree to continue to meet and confer about
21 these issues under the supervision of the Special Master.
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 1 DATED: October 16, 2020               Respectfully submitted,
 2                                       ROSEN BIEN GALVAN & GRUNFELD LLP
 3
                                         By: /s/ Jessica Winter
 4                                           Jessica Winter
 5
                                         Attorneys for Plaintiffs
 6
 7
     DATED: October 16, 2020             XAVIER BECERRA
 8                                       Attorney General of California
 9                                       By: /s/ Elise Owens Thorn
10                                           Elise Owens Thorn
                                             Deputy Attorney General
11
12                                       Attorneys for Defendants

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